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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     AMERICAN FEDERATION OF                             Case No. 25-cv-03070-JD
                                         GOVERNMENT EMPLOYEES, AFL-CIO,
                                   8     et al.,
                                                                                            ORDER
                                                        Plaintiffs,
                                   9
                                                 v.
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                                  11     DONALD J. TRUMP, et al.,
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Plaintiffs’ after-the-fact request for extra pages, Dkt. No. 16, is granted on this one

                                  14   occasion. All parties are advised that requests to expand page limits must be filed well before

                                  15   deadlines, or they will be denied.

                                  16          For plaintiffs’ application for a temporary restraining order, Dkt. No. 15, Federal Rule of

                                  17   Civil Procedure 65(b)(1) permits the Court to issue a TRO on an ex parte basis only if “specific

                                  18   facts in an affidavit or a verified complaint clearly show that immediate and irreparable injury,

                                  19   loss, or damage will result to the movant before the adverse party can be heard in opposition.”

                                  20   Fed. R. Civ. P. 65(b)(1)(A). Plaintiffs did not make such a showing. Pointing to alleged chilling

                                  21   effects on their speech that “cannot be remedied at the end of this litigation,” Dkt. No. 15-1 at 37,

                                  22   does not establish the immediacy required for a TRO to be issued at this nascent stage, before the

                                  23   other side has even been served with the summons.

                                  24          The Court will treat plaintiffs’ motion for a TRO, Dkt. No. 15, as a motion for a

                                  25   preliminary injunction, which will be handled on an expedited basis. The government may file an

                                  26   opposition brief by April 25, 2025, and plaintiffs may file a reply by May 7, 2025. The Court will

                                  27   set a hearing as warranted.

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                                   1           Plaintiffs are directed to provide notice of this order to defendants by emailing their

                                   2   counsel, and to file a proof of service on the ECF docket by 6:00 p.m. California time on the date

                                   3   of this order.

                                   4           IT IS SO ORDERED.

                                   5   Dated: April 8, 2025

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                                                                                                      JAMES DONATO
                                   8                                                                  United States District Judge
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Northern District of California
 United States District Court




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